                       Case 5:20-cv-00944-D          Document 111         Filed 08/06/24    Page 1 of 2

                                  IN THE UNITED STATES DISTRICT COURT FOR THE
                                         WESTERN DISTRICT OF OKLAHOMA

        Dwain Edward Thomas                                   )
                                                              )
                                                              )
                                                              )
                                     Plaintiff(s),            )
                                                              )
          v.                                                  )        Case No. CIV-20-944-D
        Kevin Stitt, et al.                                   )
                                                              )
                                                              )
                                                              )
                                     Defendant(s)             )

                                             ENTRY OF APPEARANCE

          To the Clerk of this court and all parties of record:

                    Enter my appearance as counsel in this case for:
         Plaintiff                  , Dwain Edward Thomas                                                   .
          (Plaintiff/Defendant)                      (Name of Party)


               I certify that I am admitted to practice in this court and am registered to file
          documents electronically with this court.


                                            s/ Michael Pronin                              8/6/2024
                                            Signature                                            Date

                                             Michael Pronin
                                            Print Name

                                            Kirkland & Ellis LLP
&ULPLQDO&DVHV2QO\                        Firm

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         Case 5:20-cv-00944-D            Document 111         Filed 08/06/24       Page 2 of 2




                                         Certificate of Service
         ✔ I hereby certify that on August
        ____                               6, 2024            I electronically transmitted theattached

document to the Clerk of Court using the (OHFWURQLF&DVH)LOLQJ6\VWHP for filing. Based on the records

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        _____ I hereby certify that on                            I ILOHG the attached documentZLWKWKH

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                                                         s/ Michael Pronin
                                                         s/ Attorney Name
